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25-32941-H1-13

Amazon Visa United States Courts
Southern District of Texas
PO Box 6294 FILED

Carol Stream, IL 60197-6294

MAY 06 2025

Nathan Ochsner, Clerk of Court
American Express National Bank

115 West Towne Ridge Parkway
Sandy, UT 84070

Bank of America, N.A. 7
100 North Tryon Street :
Charlotte, NC 28255

Barclays USA
PO Box 8801
Wilmington, DE 19899

CapitalOne Bank, N.A.
1680 Capital One Drive
McLean, VA 22102-3491

CitiBank, N.A.
388 Greenwich Street
New York, NY 10013

Cornerstone Home Lending
PO Box 660217
Dallas, TX 75266-0217
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Disover Card
2500 Lake Cook Road
Riverwoods, !L 60015

Goldman Sachs
200 West Street
New York, NY 10282

JPMorgan Chase Bank, N.A.
270 Park Avenue
New York, NY 10017

Methcdist Hospital!
6565 Fannin Street
Houston, TX 77030

Nordstrom Card Services
PO Box 6555
Englewood, CO 80155-6555

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